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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE; and
MASSACHUSETTS INSTITUTE OF
TECHNOLOGY,

             Plaintiffs,

    v.                                           Civil Action No. 1:20-cv-11283-ADB

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY; U.S.
IMMIGRATION AND CUSTOMS
ENFORCEMENT; CHAD F. WOLF, in his                Leave to File Granted July 13, 2020
official capacity as Acting Secretary of the      (ECF No. 81)
United States Department of Homeland
Security; and MATTHEW ALBENCE, in his
official capacity as Acting Director of U.S.
Immigration and Customs Enforcement,

              Defendants.


                    BRIEF FOR AMICI CURIAE
     STUDENT GOVERNMENTS OF HIGHER EDUCATION INSTITUTIONS
                   IN SUPPORT OF PLAINTIFFS

                      Baylor University, Graduate Student Association
               California Institute of Technology, Graduate Student Council
                 Carnegie Mellon University, Graduate Student Assembly
                  City University of New York, University Student Senate
                 Columbia University, Arts and Sciences Graduate Council
                Duke University, Graduate and Professional Student Council
                  Georgetown University, Graduate Student Government
                 Harvard University, Undergraduate and Graduate Councils
                  Louisiana State University, Graduate Students' Council
          Massachusetts Institute of Technology, Undergraduate Association and
                                  Graduate Student Council
                   New York University, Student Government Assembly
                         University of Chicago, Graduate Council
              University of Hawai'i at Mānoa, Graduate Student Organization
                  University of Michigan, Rackham Student Government
 University of North Carolina at Chapel Hill, Graduate and Professional Student Federation
                 Yale University Graduate and Professional Student Senate
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                              INTERESTS OF AMICI CURIAE

       Amici Curiae are student governments, associations, and councils of their respective

universities, whose hundreds of thousands of members have been adversely impacted by the

directive promulgated on July 6, 2020 (the "Directive") by U.S. Immigration and Customs

Enforcement ("ICE"). Without notice or comment, the Directive rescinded ICE's March 13,

2020 guidance exempting students on F-1 visas from the general requirement that they attend

most of their classes in person (the "March 13 Guidance"). The March 13 Guidance allowed

students who were attending classes online to retain their visas, in recognition of the steps

schools were taking to protect their students from the pandemic. The Directive now requires

students to attend classes in person.

       The students that Amici represent include students on F-1 visas, as well as students who

benefit from the inclusion of students on F-1 visas in their academic communities. All of these

students will be harmed by the arbitrary and capricious Directive.

       The identities of the students whose stories are told in this brief have been anonymized

to protect their privacy and ensure that they are not targeted for retaliation. Amici appreciate

the Court's consideration of their stories.




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                                        INTRODUCTION

          For people around the world, America represents a promise. A promise that hard work

and the courage to think boldly will be rewarded. That the best and the brightest can come

here to study in an environment that encourages the free flow of ideas. And that the pursuit of

excellence and innovation, regardless of country of origin, will be encouraged for the benefit

of all.

          It is a compelling promise. It is no surprise then, that people eager to better themselves

rely on this invitation—crossing oceans and time zones, braving unfamiliar climates and

shouldering new debts—to further academic and research pursuits in America.

          For much of its history, America has upheld this promise, with a welcoming

environment for the pursuit of higher education that benefits all students. In 2019 alone,

America permitted over one million foreigners to live and work in this country as they advance

their education, and to apply their skills and collaborate and compete in an economy that breeds

innovation. These students have contributed immeasurably to the advancement of American

higher education and to the American economy. Their participation has become an integral

part of the American educational experience.

          But the Directive reneges on this promise. Because of an arbitrary and capricious policy

promulgated by ICE at the height of a global pandemic, international students who have relied

on this promise are now faced with the dilemma of forfeiting their education or risking their

lives.

          Amici are university student organizations with members who hail from every corner

of the globe and are enrolled at private and public universities across the country at every level

of study. Through the thirteen stories told in this brief, Amici seek to highlight the personal

and human costs visited on individual students by a Directive that is not only cruel and arbitrary

in operation, but also cynical in design.




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                                                ARGUMENT1

    The Directive Disregards Students' Reliance on Prior F-1 Policy and Practice, Upends
                       Students' Lives, and Causes Irreparable Harm

           Of critical importance to Amici and their members, and a key reason why Harvard and

MIT are likely to succeed on the merits, is the Directive's utter failure to consider the reliance

interests at the heart of both international and domestic students' decisions to enroll in, and

remain enrolled in, their respective universities. When an agency acts, it must “be cognizant

that longstanding policies may have engendered serious reliance interests that must be taken

into account." Dep't of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913

(2020). "[I]t would be arbitrary and capricious to ignore such matters." Id.

           The Directive does not give even cursory consideration to the importance of

maintaining a diverse student body in American higher education, a value that many of Amici's

members specifically relied upon in deciding where to enroll. As the Supreme Court has

recognized time and again, a diverse student body "promotes learning outcomes, and better

prepares students for an increasingly diverse workforce and society, and better prepares them

as professionals." Grutter v. Bollinger, 539 U.S. 306, 330 (2003).

           To bring the senseless impact of the Directive to life, this brief tells the stories of

thirteen Amici student members. These include international students here under an F-1 visa

and domestic students who learn from, collaborate with, care about, and rely upon their

international classmates' contributions to their education.

           These thirteen are examples of the thousands of fellow students who relied upon or

benefited from the longstanding F-1 visa policy, as modified by the March 13 Guidance, in

organizing their educational and personal lives.                    That Guidance accommodated the

unprecedented school closures forced by the COVID-19 emergency by permitting "F-1


1   Amici adopt the legal arguments of Plaintiffs and will not restate them here. See Memo. of Law in Support of
      Plaintiffs' Mot. for Temporary Restraining Order (ECF No. 5) at 9-19.



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student[s] to temporarily count online classes towards a full course of study" during the

emergency, and therefore assured international students that they could lawfully remain in the

country even if they could not attend class in person.2 The Directive now requires students to

attend class in person, or to leave the country.

           These stories demonstrate how students' reliance interests have been upended by ICE's

abrupt and arbitrary change of policy in adopting the Directive, seemingly on a whim.

               1. TY

           TY is an international student and a doctoral candidate in aerospace engineering. TY’s

doctoral research is funded by the Department of Defense and focuses on innovations to

prevent line-of-duty injuries to US servicemembers. Not only has TY devoted years of PhD

studies to this effort; TY also intends to pursue a career with the US government advancing

American interests in aeronautics.

           In late-March 2020, TY returned temporarily to TY's home country with TY's partner,

based upon advisories from TY's home government and concerns about the developing

pandemic in the US. At the time, TY expected to wait until the pandemic was under control.

The March 13 Guidance gave TY comfort that TY could return to America to resume studies.

           TY is now stranded because of the Directive. And the Directive is causing TY harm.

TY's collaborations with fellow students and advisers in the US are challenged by the double-

digit time difference with TY's home country, which threatens to slow TY's research and even

disrupt it irreparably. TY does not know whether TY's program funder would be willing to

pay TY to live and work outside the United States. TY also will serve as a teaching assistant

for a course this Fall, a role that will be difficult to fulfill from halfway around the globe.




2   See Decl. of Ellsworth in Support of Plaintiffs' Mot. for a Temporary Restraining Order, Ex. 2 (ECF No. 6-2) at
      1.



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       Ironically, perhaps the biggest loser is the US government. The Department of Defense

has funded TY’s PhD research, investing in TY's years of study and anticipating that TY may

pursue a career in America conducting research to protect US military personnel. The US

government now stands to lose its valuable investment. Indeed, the Directive has caused TY

to question TY's desire to work in America after graduation. TY now fears that TY will always

have to be looking over TY's shoulder, wondering when the US government might decide on

a whim to remove TY from the country.

           2. SF

       SF is in the second year of a master's program in international development and will be

forced to return to Ethiopia—SF's home country—if the Directive goes into effect. SF has

been in America for six years, SF's entire adult life, and hoped to spend the final year of school

finishing classes and working on SF's capstone project in close cooperation with the

university’s faculty.

       SF was relieved to learn that international students could stay in the United States after

ICE issued its March 13 Guidance, so SF extended a housing lease until August 2021. SF also

forewent the opportunity to apply for a leave of absence for the 2020-21 academic year and

took a position as a Course Assistant in Fall 2020 for financial support. SF would not have

taken any of those actions had there been any hint that ICE would issue the Directive in July.

       SF's master's program will be gutted by the Directive. Approximately 90% of SF's

classmates are international students from over 30 different countries, and they all face the

prospect of forced departure. If required to return to Ethiopia, SF could not finish school. The

Ethiopian government routinely shuts down the internet in the country in response to civil

unrest. SF has not spoken to family in Ethiopia for two weeks because the internet was

disconnected after a popular musician was assassinated on June 30. Another shutdown in

March this year lasted 25 days. Even when the internet works, it is slow and does not support




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live interactive media. And with an eight-hour time difference, SF has no hope of participating

remotely in even the minimum coursework to make any progress in the master's program.

           3. HI

        HI is a US citizen pursuing a joint MD/PhD degree. HI cares deeply about the global

experience of working with HI's colleagues, and HI chose the program—which reflects the

"collaborative global nature of science"—in part for its racial and socioeconomic diversity. HI

likens working in the lab to a sports team: losing a team member because of the Directive

would be devastating for the team as a whole.

        Professionally, HI has seen first-hand the tremendous value that international voices

bring to the US medical community, particularly during a tense time like a global pandemic.

Many of HI's medical school colleagues, who are currently on the front lines helping Americans

battle COVID-19, now face uncertainty because of the Directive. It remains unclear whether

they will be able to continue to lend their skills to the fight in the US.

        Personally, HI's world will be upended if the Directive remains in effect. HI's partner

is a native of South America and an F-1 student. The partner's graduate program recently

announced that it will adopt a fully online format in the Fall. If HI's partner is forced to leave

America, they will face devastating financial consequences because their housing arrangement

and the partner's job both depend on enrollment in the partner's graduate program.

        HI's partner also faces immigration consequences. Given that there are currently no

flights to HI's partner's home country as a result of the pandemic, HI's partner faces the risk of

deportation, after which HI's partner could be deemed "inadmissible" under US immigration

law, preventing the partner's return to the US for an extended period. And HI's partner suffers

from health challenges, including a high cancer risk from treatment during adolescence, that

would make HI's partner more vulnerable without access to the medical care they receive here.

        In short, the Directive would impact every aspect of HI's and HI's partner's lives.




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           4. AZ

       AZ is a Palestinian citizen who arrived in America in 2013 to begin undergraduate

studies.   AZ just finished the first year of a master's program in public policy and is

participating in two internships.

       AZ was attracted to American higher education not only by the strength of its academic

programs, but also the opportunities for cultural exchange. When AZ arrived in America as an

international student, AZ felt a sense of belonging amidst the broad spectrum of nationalities

represented at AZ's places of study. AZ is convinced that the many perspectives among the

student body have enhanced AZ's educational experience and that of AZ's peers.

       AZ relied substantially on the March 13 Guidance, as did AZ's university, which

transitioned most of its Spring classes online. In reliance on the Guidance, AZ believed that

AZ could remain in the US legally. AZ cancelled a flight home and extended an apartment

lease in anticipation of completing the master's program.

       The Directive plunged AZ into a state of profound uncertainty. In seven years, AZ has

built a life in America: AZ has a significant other, maintains a household, and enjoys close

friendships here. Were AZ's visa to expire, AZ would receive no support from the Palestinian

mission in the US, which the US ordered closed in 2018, and there are no equivalent bodies in

the US to facilitate AZ's return to Palestine.

       The loss of the F-1 visa program would also mean the immediate loss of any job

opportunities arising from AZ's internship programs, since AZ must reside in the US to apply

for the necessary work permit.

       Returning to Palestine is simply not viable for AZ to complete AZ's education. The

time difference is substantial, and internet service in Palestine is unreliable. To make matters

worse, Palestine is experiencing severe political instability, and even AZ's family, who reside

there, have urged AZ not to return. Palestine is also experiencing a surge of COVID-19 cases




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and its healthcare system is overwhelmed. AZ also believes that a return to Palestine would

jeopardize the fellowship funds from AZ's institution. Based on the Directive, AZ might have

little choice but to consider a leave of absence, which would jeopardize AZ's F-1 status.

       The Directive has thus forced a cruel trilemma upon AZ. In AZ's words: "I'm now left

with the decision: Do I prioritize my life? Do I prioritize my education? Do I prioritize my

family? That is the stress that is being caused by this decision."

          5. CM

       CM is a Chinese national who expects to complete a doctorate in an interdisciplinary

field of applied sciences at the end of 2020. CM earned a bachelor's degree from one of the

top two universities in China and came to America as an F-1 student in 2013 to pursue a

master's degree and then a PhD.

       CM plans to accept a post-doctorate research position from a leading national

laboratory in the country, to start early next year. To do so, CM would need to apply for and

obtain post-completion work authorization known as OPT (Optional Practical Training) under

the F-1 visa. Normally, CM must be physically present in the United States and maintain valid

F-1 status for the full academic year prior to the OPT application. CM's university has not been

able to obtain clear guidance from ICE about whether CM's final semester of research would

count as in-person study, or if CM would need to depart the country, or how the Directive

affects an OPT application. Being forced to depart the country would jeopardize not just CM's

OPT application but also the post-doctorate offer and even graduation itself.

       CM has served as a teaching assistant for different graduate programs, responsible for

guiding the coursework of as many as 30 students per semester in classes as large as 300

students (including many American students). In CM's program of study, approximately 90%

of the class are international students, as are all CM's fellow teaching assistants for the coming

Fall semester, who could all have to depart because of the Directive.




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       CM has serious concerns about being forced to depart for China. Based on current

availability, the journey could entail a $6,000 economy-class ticket and a 30-hour flight with

multiple stopovers during a global pandemic. On arrival, CM would be subject to a mandatory

14-day quarantine at the port of entry. Then, even if CM could continue researching from

China, the 12-hour time difference will make performing teaching assistant duties and final

doctorate work very challenging. Even worse, CM knows from prior experience that access to

research and laboratory resources online, and the ability to collaborate with fellow students,

will be severely hampered by internet restrictions in China. CM's research and collaboration

relies on tools like Dropbox, Gmail, and Google Drive, all of which are banned in China and

accessible only with VPN tools rendered slow and unstable by Chinese government monitoring.

       After living in America for seven years as an F-1 student, CM relied on longstanding

F-1 guidance for the understanding that the principal requirement for maintaining status is to

keep the necessary academic course load to qualify as a full-time student. The Directive thus

came as a deep shock. CM chose to attend this university for the strength of its academics,

instructors, and access to leading research laboratories. It is difficult to fathom how—even

though CM is for all intents and purposes a full-time student—F-1 status should suddenly hinge

on the arbitrary distinction of whether coursework is conducted online or in-person.

          6. MS

       MS is a Greek national entering the final year of a master’s degree. As a 13-year old,

MS was already determined to attend university in the United States and decided to attend the

only American high school in Greece to pursue this dream.

       After attending college in the United States, MS was accepted to various master's

degree programs. MS applied for and won a highly prestigious scholarship that would facilitate

enrollment in the master's program and help ensure the best possible cultural and educational

experience in the United States. In May 2020, MS returned to Greece for a coveted internship




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at a major media company. Confident based on ICE's March 13 Guidance that MS could return

in August to finish the program, MS left behind an apartment that MS had leased through 2021,

along with many personal belongings.

       The Directive has stranded MS with few options. MS’s program has announced that it

will be online in the Fall, and so MS will have to remain abroad. All of the classes in the

program take place in the evening, or in the very early morning hours in Greece. MS lives in

close quarters with family at home in Greece and cannot, as a practical matter, stay awake all

night for classes and meetings and then sleep during the day. And even with the highest-quality

router, the internet in Greece is unreliable. Video conferences are impossible when it rains.

       Most importantly, the scholarship that MS depends upon to fund tuition and all living

costs is contingent upon MS's physical presence in the United States. Because of the Directive,

MS has been forced to explore the possibility of transferring to a school with in-person

instruction, but MS has found no options since the transfer window has closed.

          7. GB

       GB is an Iranian PhD student. GB came to the US years ago because of the unparalleled

academic excellence offered by GB's university. GB is heavily involved in the academic

community, having served as a research assistant and teaching assistant to both undergraduate

and graduate students. GB works daily with GB's supervisor and collaborators on research,

and GB's peers and colleagues are both domestic and international students.

       ICE's March 13 Guidance provided great relief to GB that the program would continue

through the pandemic. GB was reassured again in June when ICE announced that procedural

adaptations for remote learning for international students would remain in place. But the

Directive blindsided GB and threw GB's academic and personal plans into chaos.

       Presently, GB is on an educational exemption from Iran's mandatory military service.

If the Directive forces GB to return to Iran for more than three months, GB will have to join




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the Iranian military. Even if Iran were to offer an amended exemption, continuing GB's

research and supporting GB's colleagues will be incredibly difficult. The nearly nine-hour time

difference between Iran and the US and the need to access relevant materials via VPNs will

substantially hinder GB's ability to collaborate with peers.

       GB fears that if forced to return to Iran, it will be a long time before GB is able obtain

a new student visa. There is no US embassy in Iran. GB would therefore need to visit a

neighboring country for a visa appointment. Due to COVID-19, GB worries these countries

may not let GB enter or will otherwise have extreme wait times for consulate appointments.

       Furthermore, Iran is facing a second wave of the COVID-19 virus, and GB understands

that proper precautions such as testing are not available to its citizens. Returning home will

substantially increase GB's health risks.

            8. KE

       KE chose to pursue a PhD in the United States because of its reputation for welcoming

international students. KE was born and raised in West Bengal, India, where KE attended

college. After fruitful academic experiences in Tokyo and the Netherlands, KE wanted to

pursue higher education and work in a field with international collaboration. So KE applied to

universities all over the world for a PhD in astronomy.

       After being accepted to multiple programs, KE believed—based on friends' experiences

in the US—that KE would integrate into a US university with relative ease. Although KE had

only visited America once before, KE took the leap. Until now, these assurances had proven

true. KE was welcomed into the community and has valued collaborating with people from all

over the world. KE had hoped to stay in America to continue performing cutting-edge research

and to push boundaries in the field. The March 13 Guidance reassured KE that this would be

possible.




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       The Directive has thrown KE's future into doubt. If the Directive forces KE to depart,

it would cause financial hardship because the university is unable to pay KE's stipend if KE is

not physically present in America. And KE's family in India relies on the extra money that KE

earns from an on-campus job. Getting to India alone would be a daunting task. Flights are

expensive and often cancelled. Even if KE could get a flight, going home risks exposing the

elderly members of KE's household to COVID-19. Returning to India would not end KE's

difficulties. KE would share a small house with five other members of KE's family. KE would

have to work from a 30-square-foot room attached to KE's aunt’s bedroom. KE's research

would take place in the middle of the night because of the over nine-hour time difference. Most

troubling of all, KE's research requires intensive data analysis using supercomputers in

America, work that is near-impossible on India's internet infrastructure because it requires VPN

access to a secured network.

          9. LT

       LT is an Indian national and a PhD student. LT entered the US approximately eight

years ago on an F-1 visa to pursue an undergraduate degree and is now less than two years

away from completing a dissertation on cancer biology research, focusing on understanding

and treating leukemia.

       The Directive has put LT in an untenable position. ICE's clumsy policy does not

indicate whether the in-person requirements apply to LT, whose doctorate studies wholly

involve lab-work at this stage. LT has received no guidance either from the university or from

the US government. Moreover, if a spike in COVID-19 cases force lab work to transition

online, LT could in turn be forced to return to India, a prospect that fills LT with dread.

       LT is an Indian national but has only spent two years in India. LT was raised in the

United Arab Emirates, where LT's parents remain on a work visa. Returning to India would

therefore deposit LT in an unfamiliar place, shorn of immediate family and community. LT




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would face significant uncertainty even finding a place to live, not to mention the increased

risk of exposure to COVID-19 in India.

       Moreover, if forced to leave for India, LT would face significant delays completing

LT's doctoral work. LT would be far removed from the lab and unable to complete critical

experiments. This has implications not only for LT's dissertation, but also for the university

stipend that LT receives. That stipend is contingent on LT's ability to complete this life-saving

research—research that of course benefits everyone in America.

          10. DW

       DW was born in Russia and is currently an F-1 student pursuing a master's degree in

public administration, specializing in criminal justice policy. DW first moved to America as a

teenager, two months after being raped. Shortly thereafter, DW began attending classes at an

American university as an undergraduate student.

       The American higher education system has been integral to DW's recovery. Academic

coursework gave DW the tools to articulate and work through deep emotional trauma. DW's

degree programs continue to provide the resources and support that would not be available to

DW back home. DW credits the American education system with giving DW the opportunity

to become "the person I was supposed to be."

       DW has used that opportunity to benefit others. Using skills that DW continues to

develop through academic study, DW has actively contributed to human rights work that has

explored racial tensions, political oppression, and sexual health rights. DW embraces the role

that American universities have played in helping DW become an advocate: DW's "critical

thinking was built on this land."

       If DW is forced to depart America because of the Directive, DW would be separated

from immediate family in America and forced to say goodbye to the local community, of which




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DW is an active member. And DW cannot return to Russia for fear that DW's advocacy work

would make DW a target, and risk DW's life.

          11. JB

       JB is a PhD student and Indian citizen. JB arrived in the US in 2015 to study medical

engineering as an undergraduate student. JB's doctoral studies currently focus on the design of

medical devices and bioelectronics to diagnose and treat medical conditions. After graduation,

JB plans to work in the US as a researcher and an educator for the next generation of scientists.

       JB recalls instantly embracing America as home. As an undergraduate, JB sought out a

resident assistant position in a dorm with the most international students to pay forward JB's

fondness for this country and to connect international students to the broader community. On

campus, JB is involved in organizations, committees, and review boards, and is the coordinator

for diversity, equity, and inclusion for JB's graduate department. JB recently began working

with local schools on a program to encourage children of under-represented populations to

pursue educations in STEM disciplines.

       To date, JB has been unable to obtain assurances from the university about maintaining

F-1 status, which has implications for JB's graduate stipend and eligibility to apply for critical

grant and scholarship opportunities.

       If forced to return to India, JB expects to face a high-risk COVID-19 environment. JB

would have no choice but to share a home with JB's parents, who are in a vulnerable age

demographic, and JB's brother, a doctor participating in India's pandemic response and facing

regular exposure to the virus. JB would leave behind a newly-leased apartment, five years'

worth of household and personal belongings, and a significant other—also an international

student who would have to return to Jordan. JB would be displaced from the community that

JB calls home. JB's research would experience significant disruptions, and JB fears that a

return to America may be impossible. In JB's words: "I would feel really disconnected from




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all of these communities, just knowing that the US, somewhere I've started to build my

foundation and build my connections, I've just sort of been ripped out of here, just on the whim

of the Administration."

          12. PR

       PR is a PhD student from Russia who first arrived in the US five years ago on an F-1

visa to complete PR's undergraduate degree. PR is now pursuing a doctorate in physics. To

PR, the US was the obvious first choice to pursue studies in physics, where funding and

resources far exceed opportunities in PR's home country. PR hopes to remain in academia and

eventually become a professor. This past Spring, PR taught an undergraduate physics class to

30 students.

       Due to US-Russia relations, PR must apply for visa renewal more frequently than

traditional student visa programs—as often as every time PR returns home. If forced to return

to Russia, PR believes there will be significant obstacles accessing a US Embassy and renewing

the visa amidst a potential backlog of applications created by the COVID-19 environment,

delaying PR's return to the US. PR is also concerned about the uncontrolled spread of COVID-

19 in Russia.

       Most concerning of all, PR faces compulsory year-long military service on return to

Russia. PR fears what military training and service would entail, cut off from the outside

world—away from PR's family, studies, and relationships with friends. Military service would

delay PR's studies by an entire year, or even prevent PR from finishing. Finally, PR fears

serving in the Russian military would dim PR's prospects of renewing a student visa with the

United States.

          13. OL

       OL is a US Army veteran and an MBA student since 2019 who expects to graduate in

2021. Although OL is a US citizen, OL has grave concerns about the Directive's discriminatory




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impact and its arbitrary nature, especially how it can strip OL's classmates of their lawful status

and force them to depart on a mere "technicality," i.e., whether their classes are held online or

in-person. In OL's view, all students—not just F-1 students, who constitute about 30% of OL's

MBA cohort—will lose under the Directive.

        Through the MBA program, OL worked on a pro bono consulting engagement for a

local non-profit organization serving homeless US veterans. A classmate from India led the

engagement, joined by another classmate from China. These two international students

devoted substantial time to developing and executing a $5 million plan to build housing for

homeless US veterans, including putting in significant work over nights and weekends,

conducting site visits and performing data analytics for funding. OL now considers these two

classmates OL's top choices for future consulting engagements, not only because they are

highly qualified, but because they inspired OL with their belief in the American dream and

their enthusiasm for solving a uniquely American problem afflicting a marginalized community

in a country not their own.

        Having served in the US Army, OL understands the need for policies that protect and

prioritize America and her citizens. But OL is convinced that the Directive offers no benefits

while promising sure detriments. It hurts America by discriminating against and turning away

the brilliant minds it needs to remain the greatest country on earth. OL worries about the

message the Directive sends to the world; it punctures the ideal of America as a place worthy

to strive for and to build a life in.

                                        CONCLUSION

        For the reasons stated above and in Plaintiffs’ motion, the Court should enjoin

Defendants from enforcing the Directive.




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                             CERTIFICATE OF SERVICE

        I hereby certify that on July 13, 2020, I caused the foregoing document to be
electronically filed with the Clerk of the Court using the CM/ECF system. All participants in
the case are registered CM/ECF users and will be served by the CM/ECF system.


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